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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK



    GILEAD SCIENCES,INC., et al.

                                   Plaintiffs,                 Case No. 21-cv-4106(AMD)(RER)

    V.

                                                               Filed Under Seal
    SAFE CHAIN SOLUTIONS,LLC,et al..                           Pursuantto 15 U.S.C.§ 1116(d)
                                                               AND Court Order(Dkt.No.20)
                                   Defendants.



                        NOTICE OF DISMISSAL WITHOUT PREJUDICE


           Pursuant to Rule 41(a)(l)(A)(i) ofthe Federal Rules of Civil Procedure, Plaintiffs Gilead

    Sciences, Inc., Gilead Sciences Ireland UC,and Gilead Sciences, LLC (together,"Gilead"), by

    and through their counsel ofrecord, hereby dismiss all claims in this lawsuit against Defendant

    USDV Pharma LLC("USDV")without prejudice.

           Dismissal without prejudice under Rule 41(a)(l)(A)(i)is proper because USDV has not

    served an answer or filed a motion for summaryjudgment in this action.
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    DATED:     New York,New York
               January 12,2022

                                      Respectfully submitted.




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on January 12,2022,1 served the foregoing upon the following:

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